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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, SOUTHERN DIVISION


JAMES ROSCOE WINDHAM,                )
                                     )
       Petitioner,                   )
                                     )           CIVIL ACTION NO.
       v.                            )             1:15cv145-MHT
                                     )                  (WO)
LUTHER STRANGE, The                  )
Attorney General for the             )
State of Alabama, and                )
CARTER DAVENPORT,                    )
                                     )
       Respondents.                  )

                                  OPINION

      Pursuant to 28 U.S.C. § 2254, petitioner, a state

inmate, filed this lawsuit seeking habeas relief.                        This

lawsuit is now before the court on the recommendation

of the United States Magistrate Judge that the petition

be    denied.          There      are    no      objections      to       the

recommendation.           After    an    independent      and   de       novo

review      of   the   record,    the    court    concludes     that      the

magistrate judge’s recommendation should be adopted.

      An appropriate judgment will be entered.

      DONE, this the 7th day of December, 2017.

                                      /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE
